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   April 19, 2023                                                                                                              TBoutrous@gibsondunn.com



   VIA ECF

   Hon. Mary Kay Vyskocil
   United States District Court
   Southern District of New York
   500 Pearl Street, Courtroom 18C
   New York, NY 10007-1312

   Re:      Bragg v. Jim Jordan et al., Case No. 1:23-cv-03032 (MKV)


   Dear Judge Vyskocil:

          We write as counsel to Plaintiff Manhattan District Attorney Alvin L. Bragg, Jr., in
   the above-captioned action.

           For the reasons stated on the record at today’s hearing and pursuant to Federal Rule
   of Appellate Procedure 8(a)(1), Plaintiff moves for an injunction pending appeal and stay of
   the return date of the subpoena served on Mark Pomerantz in light of the Court’s order
   denying Plaintiff’s motion for a temporary restraining order and preliminary injunction.

            Because Mr. Pomerantz is due to testify before the Judiciary Committee tomorrow,
   April 20, 2023, at 10:00 a.m., Plaintiff advises the Court that he intends to seek emergency
   relief from the Court of Appeals for the Second Circuit as soon as possible this evening.
   Before filing this motion, we reached out to the Congressional Defendants to adjourn the
   return date on the deposition to avoid the need to seek emergency relief but are awaiting a
   response. We have consulted with counsel for Mr. Pomerantz, and Mr. Pomerantz supports
   this request.

            We appreciate Your Honor’s consideration in this matter.


                                                          Respectfully submitted,

                                                          /s/ Theodore J. Boutrous, Jr.



   cc: All Counsel of Record



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